            Case 3:10-cr-00134-RCJ-VPC                    Document 27         Filed 02/22/11       Page 1 of 1
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AO 470 (Rev,01/09) OrderSchedulingaDctenti
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                                U NITED STATES D ISTRICT CO                                  E8 22 2011
                                                             for!he                     (LERKUS.DISTRICTCOURT
                                                        DistrictofNevada                   DISTRICT OFNEVADA
                                                                                 BY:         '                   DEPUW
                UnitedStatesofAmerica                          )
                          v.                                   )      CaseNo..3:10-CR-0134-ECR-VPC               .
                  REBECCA BROWN                                )
                                                    -          )
                         Depnaant                              )
                                  O RDER SCHEDULING A DETENTIO N HEARING                                     '


         A detentionhearing inthiscase isscheduled asfollolvs:

PlaCe: United States DistrictCourt                                    Courtroom No.: Two
       400 S.Virginia St.
       Reno.NV 89501                                                  oateand Time: 3/1/114:30 pm

        IT IS O RDERED: Pending thehearing,the defendantisto bedetained inthecustody ofthe United States
marshalorany otherauthorized ofticer.Thecustodian mustbring1hedefendantto the hearing atthe time,date,and
place setfol
           'th above.




Date:        02./22./2011
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                                                                                               gnature


                                                                           RobertA.Mcouaid,Jr.,U.S.Magistrate Judge
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